       Case 1-18-40818-nhl            Doc 12       Filed 03/14/18    Entered 03/14/18 12:29:58




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                              Chapter 11

59 Coolidge Road, LLC,                                              Case No. 18-40818-NHL

                                             Debtor.
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                                LOCAL RULE 1009-1 DECLARATION

        J. Ted Donovan declares the following under penalties of perjury pursuant to 28

U.S.C. § 1746:

        1.       I am a senior associate with the firm of Goldberg Weprin Finkel Goldstein

LLP, counsel for 59 Coolidge Road, LLC, the Debtor herein.

        2.       I make this Declaration pursuant to Local Rule 1009-1 in support of

amendment to the Debtor’s schedules being filed herewith.

        3.       The Debtor filed a petition under Chapter 11 of the Bankruptcy Code on

January 30, 2018.

        4.       The following are a list of the filings:

                 A.       Petition amended to reflect correct NAICS number

                 B.       Schedule “F”, previously filed herein, has been amended for the
                          purpose of adding the Massachusetts Department of Health, 250
                          Washington Street, Boston, MA 02108-4603 for notice purposes. An
                          amended mailing matrix is annexed hereto, reflecting only this new
                          addition.

Dated: New York, NY
       March 13, 2018
                                                            /s/ J. Ted Donovan
